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                                                       Pg 1 of 23
                                               Combined Hearing Date and Time: October 10, 2018 at 11:00 a.m.


CULLEN AND DYKMAN LLP
100 Quentin Roosevelt Boulevard
Garden City, NY 11530
(516) 357-3700
C. Nathan Dee, Esq.
Elizabeth M. Aboulafia, Esq.

Counsel to Navillus Tile, Inc.

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------------------- x
                                                                              :
In re:                                                                        : Chapter 11
                                                                              :
NAVILLUS TILE, INC., DBA NAVILLUS CONTRACTING, : Case No. 17-13162 (SHL)
                                                                              :
                                                                              :
                                  Debtor.                                     :
                                                                              :
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                               NOTICE OF FILING PLAN SUPPLEMENT

           PLEASE TAKE NOTICE THAT on September 21, 2017, Navillus Tile, Inc. d/b/a

Navillus Contracting, as debtor and debtor-in-possession (“Navillus”) filed a Plan Supplement (the

“Plan Supplement”) in connection with the                      Consensual Amended Chapter 11 Plan of

Reorganization (the “Plan” at Dkt. No. 602) 1.

           PLEASE TAKE FURTHER NOTICE THAT copies of the Plan Supplement can be

obtained by accessing the Claims Agent’s website or sending a written request as follows:

                                     Navillus Tile, Inc. Case Administration
                                     c/o GCG
                                     P.O. Box 10446
                                     Dublin, Ohio 43017-4046
                                     http://cases.gardencitygroup.com/nvs




1
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Plan.
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                                            Pg 2 of 23


DATED:         September 21, 2018                        CULLEN AND DYKMAN LLP
                                                         Attorneys for Navillus Tile, Inc.



                                                           /s/ Elizabeth M. Aboulafia
                                                         C. Nathan Dee, Esq.
                                                         Elizabeth M. Aboulafia, Esq.
                                                         100 Quentin Roosevelt Boulevard
                                                         Garden City, New York 11530
                                                         (516) 357-3700
17-13162-shl          Doc 643       Filed 09/21/18       Entered 09/21/18 16:58:52               Main Document
                                                       Pg 3 of 23
                                               Combined Hearing Date and Time: October 10, 2018 at 11:00 a.m.


CULLEN AND DYKMAN LLP
100 Quentin Roosevelt Boulevard
Garden City, NY 11530
(516) 357-3700
C. Nathan Dee, Esq.
Elizabeth M. Aboulafia, Esq.

Counsel to Navillus Tile, Inc.

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                              :
In re:                                                                        : Chapter 11
                                                                              :
NAVILLUS TILE, INC., DBA NAVILLUS CONTRACTING, : Case No. 17-13162 (SHL)
                                                                              :
                                                                              :
                                  Debtor.                                     :
                                                                              :
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      PLAN SUPPLEMENT FOR CONSENSUAL AMENDED CHAPTER 11 PLAN OF
    REORGANIZATION OF NAVILLUS TILE, INC. D/B/A NAVILLUS CONTRACTING
               UNDER CHAPTER 11 OF THE BANKRUPTCY CODE

           Navillus Tile, Inc. d/b/a Navillus Contracting, as debtor and debtor-in-possession

(“Navillus”), hereby files this Plan Supplement (the “Plan Supplement”) in connection with the

Consensual Amended Chapter 11 Plan of Reorganization (the “Plan” at Dkt. No. 602) 2. This Plan

Supplement consists of the following:

                •   Exhibit 1: Exit Financing Documents

                    TO BE PROVIDED

                •   Exhibit 2: Assumption and Cure Schedule

                    ALL PERSONS OR ENTITIES WITH CONTRACTS OR LEASES WITH
                    NAVILLUS SHOULD CAREFULLY REVIEW EXHIBIT 2. [This document is
                    also filed with the Court at Dkt. No. 640].


2
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Plan.
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         •     Exhibit 3: Rejection Schedule

               ALL PERSONS OR ENTITIES WITH CONTRACTS OR LEASES WITH
               NAVILLUS SHOULD CAREFULLY REVIEW EXHIBIT 3. [This document is
               also filed with the Court at Dkt. No. 639].

         •     Exhibit 4: Identity of Distribution Agent

         •     Exhibit 5: ADR Procedures

               N/A, as Navillus has elected to not pursue the resolution of any Insured Claims
               through the ADR Procedures outlined in Section 9.03 of the Plan.

         •     Exhibit 6: Escrow Agreement

               TO BE PROVIDED

      Navillus reserves the right to alter, amend, update, supplement, or modify the Plan

      Supplement.


DATED:         September 21, 2018                          CULLEN AND DYKMAN LLP
                                                           Attorneys for Navillus Tile, Inc.



                                                           /s/ Elizabeth M. Aboulafia
                                                           C. Nathan Dee, Esq.
                                                           Elizabeth M. Aboulafia, Esq.
                                                           100 Quentin Roosevelt Boulevard
                                                           Garden City, New York 11530
                                                           (516) 357-3700
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                                      Exhibit 1

                              Exit Financing Documents

                                 TO BE PROVIDED
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                                      Exhibit 2

                           Assumption and Cure Schedule
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CULLEN AND DYKMAN LLP
100 Quentin Roosevelt Boulevard
Garden City, NY 11530
(516) 357-3700
C. Nathan Dee, Esq.
Elizabeth M. Aboulafia, Esq.

Counsel for Navillus Tile, Inc.,
d/b/a Navillus Contracting

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
 ----------------------------------------------------------------- x
                                                                   :
In re:                                                             : Chapter 11
                                                                   :
NAVILLUS TILE, INC., DBA NAVILLUS                                  : Case No. 17-13162 (SHL)
CONTRACTING                                                        :
                                                                   :
                                                                   :
------------------------------------------------------------------ x

                    NOTICE OF (I) NAVILLUS’ INTENT TO ASSUME
                 CERTAIN EXECUTORY CONTRACTS AND UNEXPIRED
                 LEASES AND (II) CURE AMOUNTS RELATED THERETO

TO ALL NON-DEBTOR COUNTERPARTIES TO EXECUTORY
CONTRACTS OR UNEXPIRED LEASES WITH NAVILLUS:

        PLEASE TAKE NOTICE pursuant to the First Amended Chapter 11 Plan of
Reorganization of Navillus Tile, Inc., d/b/a Navillus Contracting Under Chapter 11 of the
Bankruptcy Code dated August 24, 2018 (as it may be further amended, modified, and
supplemented, the “Plan”) 1 filed by Navillus Tile, Inc., d/b/a Navillus Contracting, the above-
captioned debtor and debtor-in-possession (“Navillus”), Navillus is seeking authority to, among
other things, assume certain prepetition Executory Contracts and Unexpired Leases pursuant to
section 365 of the Bankruptcy Code.

         PLEASE THAT FURTHER NOTICE that in connection with the Plan, Navillus has
filed a schedule (the “Assumption and Cure Schedule”) designating each Executory Contract and
Unexpired Lease to be assumed pursuant to the Plan and the cure amount, if any, related to such
proposed assumption. 2 You are receiving this notice because you are a counterparty to one or


1
  Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Plan.
2
  Unless otherwise specified on the Assumption and Cure Schedule, each Executory Contract and Unexpired Lease
listed thereon shall include any and all modifications, amendments, supplements, restatements or other agreements
made directly or indirectly by any agreement, instrument, or other document that in any manner affects the
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more of the Executory Contracts and Unexpired Leases set forth on the Assumption and Cure
Schedule collectively annexed hereto as Exhibits A and B.

      PLEASE TAKE FURTHER NOTICE that if you have questions about why the
Executory Contracts or Unexpired Leases to which you are a counterparty are identified on the
Assumption and Cure Schedule, you may contact Navillus’ counsel at:

If you are a counterparty to an Executory Contract or Unexpired Lease listed on Exhibit A:

                                  Cullen and Dykman LLP
                                  100 Quentin Roosevelt Blvd.
                                  Garden City, New York 11530
                                  C. Nathan Dee, Esq.
                                  Elizabeth M. Aboulafia, Esq.
                                  (516) 357-3700
                                  ndee@cullenanddykman.com
                                  eaboulafia@cullenanddykman.com

If you are a counterparty to an Executory Contract or Unexpired Lease listed on Exhibit B:

                                  Otterbourg, P.C.
                                  Attn: Melanie L. Cyganowski, Esq.
                                  230 Park Avenue
                                  New York, New York 10169
                                  (212) 661-9100
                                  mcyganowski@otterbourg.com

         PLEASE TAKE FURTHER NOTICE that the Bankruptcy Court has established
October 1, 2018 at 5:00 p.m. (EST) (the “Objection Deadline”) as the date by which all non-
debtor counterparties to the Executory Contracts and Unexpired Leases must electronically file
with the Clerk of the Bankruptcy Court any objections to the cure amount listed by Navillus on the
Assumption and Cure Schedule or the assumption of any Executory Contract or Unexpired Lease
listed on the Assumption and Cure Schedule, and serve a copy of such objection on the following
parties: (i) counsel to Navillus, Cullen and Dykman LLP, Attn: C. Nathan Dee, Esq. and
Elizabeth M. Aboulafia, Esq., 100 Quentin Roosevelt Blvd., Garden City, New York 11530 (if
you are a counterparty to an Executory Contract or Unexpired Lease listed on Exhibit A) or
Otterbourg, P.C., Attn: Melanie L. Cyganowski, Esq., 230 Park Avenue, New York, New York
10169 (if you are a counterparty to an Executory Contract or Unexpired Lease listed on Exhibit
B); (ii) the Office of the United States Trustee for the Southern District of New York, 201 Varick
Street, Room 1006, New York, New York 10014, Attn: Paul Schwartzberg, Esq.; and (iii) the
attorneys for the Committee, Hahn & Hessen LLP, 488 Madison Avenue, New York, New York
10022, Attn: Mark T. Power, Esq.



Executory Contract or Unexpired Lease, without regard to whether such agreement, instrument or other document is
listed on the Assumption and Cure Schedule.
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       PLEASE TAKE FURTHER NOTICE that of there are objections filed, the Bankruptcy
Court may either schedule such objection to be heard at the Combined Hearing on October 10,
2018 at 11:00 a.m. or at a later hearing on a date to be set by the Bankruptcy Court. Any hearing
on any objections to the Assumption and Cure Schedule will be held before the Honorable Sean
H. Lane, United States Bankruptcy Judge, in Courtroom 701 of the United States Bankruptcy
Court for the Southern District of New York, One Bowling Green, New York, New York 10004.

        PLEASE TAKE FURTHER NOTICE that Navillus reserves the right, on or prior to
the Confirmation Date, to amend the Assumption and Cure Schedule. Navillus shall provide
notice of any amendments to the Assumption and Cure Schedule to the parties affected thereby.
The listing of a document on the Assumption and Cure Schedule shall not constitute an
admission by Navillus that such document is an Executory Contract or an Unexpired Lease or
that Navillus has any liability thereunder. If no cure amount for an assumed Executory Contract
or Unexpired Lease is listed in the Assumption and Cure Schedule, the cure amount shall be
deemed to be $0.

       PLEASE TAKE FURTHER NOTICE that notwithstanding anything to the contrary in
the Plan, Navillus or Reorganized Navillus, as applicable, shall be authorized to reject any
Executory Contract or Unexpired Lease that is subject to a dispute concerning amounts
necessary to cure any defaults through the Effective Date of the Plan.

        PLEASE TAKE FURTHER NOTICE that each counterparty to an Executory Contract
or Unexpired Lease that does not file an objection to the Assumption and Cure Schedule on or
before the Objection Deadline will be deemed to consent to the assumption of such Executory
Contract or Unexpired Lease and the proposed cure amount (if any) with respect to such
agreement, and shall be forever barred from objecting to the assumption or proposed cure
amount or asserting any other objections against Navillus, Reorganized Navillus and its estate
arising out of such Executory Contracts or Unexpired Leases.

Dated: Garden City, New York
       September 20, 2018

CULLEN AND DYKMAN LLP                                      OTTERBOURG, P.C.



By:    /s/ Elizabeth M. Aboulafia
C. Nathan Dee, Esq.                                        Melanie Cyganowski, Esq.
Elizabeth M. Aboulafia, Esq.                               230 Park Avenue
100 Quentin Roosevelt Boulevard                            New York, NY 10169
Garden City, NY 11530                                      (212) 661-9100
(516) 357-3700

Counsel for Navillus Tile, Inc.,                           Special Litigation and Conflicts
d/b/a Navillus Contracting                                 Counsel for Navillus Tile, Inc.
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                                                   Exhibit A

                                   Assumption and Cure Schedule

          Non-Debtor                 Address          Description of Contract           Date of     Cure
          Contractual                                        or Lease                 Contract or   Costs
         Counterparty                                                                   Lease

1   Air Masters, Inc.             1935 Richmond       General Construction Contract   10/10/16      $0.00
                                  Terrace             re: Hurricane Sandy
                                  Staten Island,      Residential Community
                                  NY 10302            Recovery Package #33

2   Bricklayers and Allied        4 Ct Square W.      Collective Bargaining                         $0.00
    Craftworkers, L1              #1                  Agreement
                                  Long Island City,
                                  NY 11101

3   Building and Construction     71 W 23rd St.,      Multiemployer Collective                      $0.00
    Trades Council                Ste. 501-03         Bargaining Agreement
                                  New York, NY
                                  10010

4   Building Contractors          451 PARK            Negotiation and                               $0.00
    Association                   AVENUE              administration of CBAs
                                  SOUTH
                                  NEW YORK,
                                  NY 10016
5   CNY Construction 10 LLC       214 WEST 39TH       Trade Contract for 110                        $0.00
                                  STREET, STE.        University Place No. 4020-10-
                                  804                 04-0010-NATIIN-000
                                  NEW YORK,
                                  NY 10018
6   Construction Risk Partners    252 W. 37th St.,    Brokerage Agreement                           $0.00
                                  Ste. 200E
                                  New York, NY
                                  10018

7   E.E. Cruz And Tully           32 Avenue of the    Subcontract Agreement                         $0.00
    Construction Co.,             Americas
    A Joint Venture, LLC          13th Floor
                                  New York, NY
                                  10013

8   General Building Laborers'    1600 Walt           Collective Bargaining           04/05/16      $0.00
    Local Union No. 66            Whitman Road,       Agreement
                                  Melville, NY
                                  11747
9   Gilbane Building Company      88 Pine Street      Subcontract re: NY              08/24/17      $0.00
                                  27th Floor          Presbyterian Hospital
                                  New York, NY
                                  10005
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           Non-Debtor               Address          Description of Contract          Date of     Cure
           Contractual                                      or Lease                Contract or   Costs
          Counterparty                                                                Lease

10   Gilbane Building Company    88 Pine Street,     Construction Work at 55                      $0.00
                                 27th Floor          Hudson Yards
                                 New York, NY
                                 10005

11   International Union of      141-57 Northern     Collective Bargaining                        $0.00
     Operating Engineers, L14    Blvd.               Agreement
                                 Flushing, NY
                                 11354

12   JRM Construction            242 West 36th       Construction Agreement re:                   $0.00
     Management                  St., 9th Fl.        Concrete Masonry
                                 New York, NY
                                 10018

13   JRM Construction            242 West 36th       Master Subcontractor           11/28/16      $0.00
     Management, LLC             St., 9th Fl.        Agreement
                                 New York, NY
                                 10018

14   KG Power Systems            150 Laser Ct.       Subcontractor Agreement                      $0.00
                                 Hauppauge, NY
                                 11788

15   Lend Lease (US)             200 Park Avenue     Construction Agreement with    10/01/13      $0.00
     Construction LMB, Inc.      New York, NY        Lease
                                 10166

16   Leon DeMatteis              820 Elmont Road     Renovation of IS 323                         $0.00
     Construction Corp.          Elmont, NY
                                 11003

17   LIUNA Construction &        520 Eighth Ave.     Collective Bargaining                        $0.00
     General Bldg. Laborers,     #679                Agreement
     L79                         New York, NY
                                 10018

18   Mason Tenders District      520 8th Ave,        Collective Bargaining                        $0.00
     Council                     #650, New York,     Agreement
                                 NY 10018

19   New York City School        3030 Thomson        Project Labor Agreement for                  $0.00
     Construction Authority      Ave.                Fiscal Years 2015-2019
                                 Long Island City,
                                 NY 11101
20   New York City School        3030 Thomson        Construction work at PS K280                 $0.00
     Construction Authority      Ave.                Educational Campus
                                 Long Island City,
                                 NY 11101
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           Non-Debtor                Address          Description of Contract           Date of     Cure
           Contractual                                       or Lease                 Contract or   Costs
          Counterparty                                                                  Lease

21   Operating Engineers and      44-40 11th St.      Collective Bargaining                         $0.00
     Surveyors, L15, 15d 138      Long Island City,   Agreement
                                  NY 11101

22   Skanska USA Building Inc.    350 5th Avenue      Subcontract Agreement for       08/05/16      $0.00
                                  32nd Floor          370 Jay Street Tile
                                  New York, NY
                                  10118

23   Skanska USA Building Inc.    Empire State        Subcontract Agreement for       08/11/15      $0.00
                                  Building            NYU 370 Jay Street
                                  575 Fifth Avenue
                                  29th Floor
                                  New York, NY
                                  10017

24   Skanska USA Building Inc.    350 5th Avenue      Construction Agreement re:      07/06/17      $0.00
                                  32nd Floor          Carpentry for Project Dream
                                  New York, NY
                                  10118

25   Skanska USA Building Inc.    350 5th Avenue      Construction Agreement for                    $0.00
                                  32nd Floor          General Construction Trades
                                  New York, NY
                                  10118

26   STV Construction, Inc.       225 Park Avenue     Construction Agreement          01/11/16      $0.00
                                  South
                                  New York, NY
                                  10003

27   The Laquila Group, Inc.      1590 Troy           Construction Agreement re:      05/24/17      $0.00
                                  Avenue              74 Trinity Place
                                  Brooklyn, NY
                                  11234
28   Tishman Construction         100 Park Ave        Construction Agreement re:      08/21/17      $0.00
     Corp.                        New York, NY        NYU LMC Ambulatory Care
                                  10017               Center

29   Tishman Construction         100 Park Ave        General Construction Contract   10/03/16      $0.00
     Corp.                        New York, NY        re: Hurricane Sandy
                                  10017               Residential Community
                                                      Recovery Package #33

30   Tishman Construction         100 Park Ave        General Construction Contract   10/03/16      $0.00
     Corp.                        New York, NY
                                  10017

31   Tishman Construction         100 Park Ave        General Construction Contract   05/02/17      $0.00
                                  New York, NY        re: Hurricane Sandy
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          Non-Debtor           Address      Description of Contract          Date of     Cure
          Contractual                              or Lease                Contract or   Costs
         Counterparty                                                        Lease

     Corp.                   10017          Residential Community
                                            Recovery Package #22

32   Tishman Construction    100 Park Ave   Project Labor Agreement for                  $0.00
     Corp.                   New York, NY   Hurricane Sandy Community
                             10017          Recovery

33   Tishman Construction    100 Park Ave   Project Labor Agreement for                  $0.00
     Corp.                   New York, NY   One Vanderbilt
                             10017

34   Tishman Construction    100 Park Ave   Trade Contract Agreement for                 $0.00
     Corp.                   New York, NY   NYU Smillow Cellar Rebuild
                             10017
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                                                  Exhibit B

                                   Assumption and Cure Schedule

         Non-Debtor               Address           Description of Contract          Date of     Cure
         Contractual                                       or Lease                Contract or   Costs
        Counterparty                                                                 Lease

1    Hunter Roberts            55 Water Street     Subcontract Agreement re:                     $0.00
     Construction Group        51st                Pier 57 (Concrete)
                               New York, NY
                               10017

2    Hunter Roberts            55 Water Street     Subcontract Agreement re:                     $0.00
     Construction Group        51st                Pier 57 (Masonry)
                               New York, NY
                               10017

3    New York City Housing     250 Broadway        General Construction Contract   06/26/17      $0.00
     Authority                 New York, NY        re: Astoria Houses
                               10001

4    New York City Housing     250 Broadway        General Construction Contract                 $0.00
     Authority                 New York, NY        re: Construction Agreement re
                               10001               Redfern Houses

5    New York City Housing     250 Broadway        General Construction Contract                 $0.00
     Authority                 New York, NY        re: Construction Agreement re
                               10001               LaGuardia Houses

6    New York City Housing     250 Broadway        General Construction Contract                 $0.00
     Authority                 New York, NY        re: Construction Agreement re
                               10001               Ocean Bay Houses

7    New York City Housing     250 Broadway        General Construction re:        05/04/17      $0.00
     Authority                 New York, NY        Smith House
                               10001

8    New York City Housing     250 Broadway        Project Labor Agreement for                   $0.00
     Authority                 New York, NY        Multiple Locations
                               10001

9    Signature Financial LLC   225 Broadhollow     Security Agreement                            $0.00
                               Road, Suite 132W    Regarding Purchase of
                               Melville, NY        Equipment
                               11747
10   Signature Financial LLC   225 Broadhollow     Security Agreement                            $0.00
                               Road, Suite 132W    Regarding Purchase of
                               Melville, NY        Equipment
                               11747
11   Structure Tone, Inc.      770 Broadway        Subcontract re: Time Warner                   $0.00
                               New York, NY        Headquarters
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         Non-Debtor              Address          Description of Contract        Date of     Cure
         Contractual                                     or Lease              Contract or   Costs
        Counterparty                                                             Lease

                             10003

     Structure Tone, LLC     330 West 34th
                             Street
                             New York, NY
                             10001

12   Turner Construction     375 Hudson St.,      Subcontract Agreement re:    06/16/17      $0.00
     Company                 6th Fl.              Sca PS 398 (Queens)
                             New York, NY
                             10004

13   Turner Construction     375 Hudson St.,      Construction Agreement re:                 $0.00
     Company                 6th Fl.              Concrete Slab and broom
                             New York, NY         finish
                             10004

14   Tutor Perini Building   360 West 31st        Subcontract No. 10194600-                  $0.00
     Corp.                   Street, Suite 1510   SC-040 for Hudson Yards
                             New York, NY         Platform
                             10001
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                                     Exhibit 3

                                 Rejection Schedule
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OTTERBOURG P.C.
Melanie L. Cyganowski, Esq.
230 Park Avenue
New York, New York 10169

Special Litigation and Conflicts
Counsel for Navillus Tile, Inc.,

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                  x
                                                                  :
In re:                                                            : Chapter 11
                                                                  :
NAVILLUS TILE, INC., DBA NAVILLUS                                 : Case No. 17-13162 (SHL)
CONTRACTING,                                                      :

                                       Debtor.                     :
                                                                   :
-------------------------------------------------------------------------------
                                                                   x

                     NOTICE OF NAVILLUS’ INTENT TO REJECT CERTAIN
                     EXECUTORY CONTRACTS AND UNEXPIRED LEASES

TO ALL NON-DEBTOR COUNTERPARTIES TO EXECUTORY
CONTRACTS OR UNEXPIRED LEASES WITH NAVILLUS:

        PLEASE TAKE NOTICE pursuant to the First Amended Chapter 11 Plan of
Reorganization of Navillus Tile, Inc., d/b/a Navillus Contracting Under Chapter 11 of the
Bankruptcy Code dated August 24, 2018 (as it may be further amended, modified, and
supplemented, the “Plan”)1 filed by Navillus Tile, Inc., d/b/a Navillus Contracting, the above-
captioned debtor and debtor-in-possession (“Navillus”), Navillus is seeking authority to, among
other things, reject certain prepetition Executory Contracts and Unexpired Leases pursuant to
Bankruptcy Code §365.

        PLEASE THAT FURTHER NOTICE that in connection with the Plan, Navillus has
filed a schedule (the “Rejection Schedule”) designating each Executory Contract and Unexpired
Lease to be rejected pursuant to the Plan, as of the Effective Date of the Plan.2 You are receiving
this notice because you are a counterparty to one or more of the Executory Contracts and
Unexpired Leases set forth on the Rejection Schedule annexed hereto as Exhibit A.
1
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Plan.
2
  Unless otherwise specified on the Rejection Schedule, each Executory Contract and Unexpired Lease listed
thereon shall include any and all modifications, amendments, supplements, restatements or other agreements made
directly or indirectly by any agreement, instrument, or other document that in any manner affects the Executory
Contract or Unexpired Lease, without regard to whether such agreement, instrument or other document is listed on
the Rejection Schedule.
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                    639     Filed 09/21/18
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       PLEASE TAKE FURTHER NOTICE that if you have questions about why the
Executory Contracts or Unexpired Leases to which you are a counterparty are identified on the
Rejection Schedule, you may contact Navillus’ counsel at:

                             Otterbourg P.C.
                             Attn: Melanie L. Cyganowski, Esq.
                             230 Park Avenue
                             New York, New York 10169
                             (212) 661-9100
                             mcyganowski@otterbourg.com

        PLEASE TAKE FURTHER NOTICE that parties seeking to object to the proposed
rejection of any of the Executory Contracts or Unexpired Leases must electronically file with the
Clerk of the Bankruptcy Court a written objection so that such objection is actually received by
October 1, 2018 at 5:00 p.m. (EST) (the “Objection Deadline”), and serve a copy of such
objection on the following parties: (i) counsel to Navillus, Otterbourg, P.C., Attn: Melanie L.
Cyganowski, Esq., 230 Park Avenue, New York, New York 10169; (ii) the Office of the United
States Trustee for the Southern District of New York, 201 Varick Street, Room 1006, New York,
New York 10014, Attn: Paul Schwartzberg, Esq.; and (iii) the attorneys for the Committee, Hahn
& Hessen LLP, 488 Madison Avenue, New York, New York 10022, Attn: Mark T. Power, Esq.

       PLEASE TAKE FURTHER NOTICE that of there are objections filed, the Bankruptcy
Court may either schedule such objection to be heard at the Combined Hearing on October 10,
2018 at 11:00 a.m. or at a later hearing on a date to be set by the Bankruptcy Court. Any hearing
on any objections to the Rejection Schedule will be held before the Honorable Sean H. Lane,
United States Bankruptcy Judge, in Courtroom 701 of the United States Bankruptcy Court for
the Southern District of New York, One Bowling Green, New York, New York 10004.

       PLEASE TAKE FURTHER NOTICE that Navillus reserves the right, on or prior to
the Confirmation Date, to amend the Rejection Schedule. Navillus shall provide notice of any
amendments to the Rejection Schedule to the parties affected thereby. The listing of a document
on the Rejection Schedule shall not constitute an admission by Navillus that such document is an
Executory Contract or an Unexpired Lease or that Navillus has any liability thereunder.

       PLEASE TAKE FURTHER NOTICE that each counterparty to an Executory Contract
or Unexpired Lease that does not file an objection to the Rejection Schedule on or before the
Objection Deadline will be deemed to consent to the rejection of such Executory Contract or
Unexpired Lease as of the Effective Date of the Plan.

       PLEASE TAKE FURTHER NOTICE that to the extent you with to assert a claim
arising out of the rejection of an Executory Contract or Unexpired Lease pursuant to the
Plan, then such Claim must be filed with the Claims Agent and served upon counsel to
Reorganized Navillus on or before the Rejection Damages Bar Date which shall be thirty
(30) days after the Confirmation Date, and upon the failure of any Entity to file such Claim
on or before such date, such Entity shall be forever barred from asserting a Claim on
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account of the rejection of such Executory Contract or Unexpired Lease, but shall
nevertheless be bound by the provisions of the Plan.

        PLEASE TAKE FURTHER NOTICE all Allowed Claims arising from the rejection of
an Executory Contract or Unexpired Lease shall be treated, to the extent applicable, as General
Unsecured Claims, unless otherwise ordered by Final Order of the Bankruptcy Court. There
shall be no restriction on the right of Reorganized Navillus to object to any Claims relating to the
rejection of Executory Contracts or Unexpired Leases, or to assert any defense or counterclaim
to any such Claim, notwithstanding that such defenses or counterclaims may not have otherwise
been identified in the Plan, Disclosure Statement or otherwise.

Dated: New York, New York
       September 20, 2018

                                                             OTTERBOURG P.C.

                                                             By: /s/ Melanie L. Cyganowski
                                                             Melanie L. Cyganowski, Esq.
                                                             230 Park Avenue
                                                             New York, NY 10169
                                                             (212) 661-9100

                                                             Special Litigation and Conflicts
                                                             Counsel for Navillus Tile, Inc.
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                      639    Filed 09/21/18
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                                                    23


                                              Exhibit A


        Non-Debtor             Address           Description of             Date of         Rejection
        Contractual                             Contract or Lease         Contract or         Date
       Counterparty                                                         Lease

1   Hunter Roberts          55 Water Street   Subcontract Agreement re:   March 15, 2013   Effective Date
    Construction Group      51st Floor        JPMorgan Chase/One                           of Plan
                            New York, NY      Chase Manhattan Plaza
                            10017             Contract
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                                           Exhibit 4

                                Identity of Distribution Agent

The Distribution Agent under the Plan shall be:

GCG
P.O. Box 10446
Dublin, Ohio 43017-4046
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                                          Exhibit 5

                                      ADR Procedures


N/A, as Navillus has elected to not pursue the resolution of any Insured Claims through the ADR
Procedures outlined in Section 9.03 of the Plan.
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                                     Exhibit 6

                                 Escrow Agreement

                                 TO BE PROVIDED
